                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                              FORT MYERS DIVISION

MITIL DORSELY,

             Plaintiff,

v.                                                    Case No: 2:17-cv-37-FtM-99CM

GREGORIO GONZALEZ, JR. ,

             Defendant.


                                          ORDER

      This matter comes before the Court upon review of Plaintiff's Motion to Allow

Correction of Spelling due to Scrivener's Error (Doc. 16) filed on March 29, 2017.

Plaintiff seeks to amend the case style, complaint, and all subsequent documents to

correct his surname as “Dorseli.”       Doc. 16 at 2.    Defendant does not oppose the

requested relief.

      Rule 15 of Federal Rules of Civil Procedure provides that, for amendments not

filed as a matter of course, “a party may amend its pleading only with the opposing

party’s written consent or the court’s leave. The court should freely give leave when

justice so requires.”     Fed. R. Civ. P. 15(a)(2).   “Although leave to amend shall be

freely given when justice so requires, a motion to amend may be denied on numerous

grounds such as undue delay, undue prejudice to the defendants, and futility of the

amendment.”     Maynard v. Bd. of Regents of the Div. of Univs. of the Fla. Dep’t of

Educ. ex rel. Univ. of S. Fla., 342 F.3d 1281, 1287 (11th Cir. 2003) (internal quotation

marks omitted).     Here, the Court does not find undue delay, undue prejudice to the
defendants, and futility of the amendment because the proposed amendment is to

correct Plaintiff’s surname.

      ACCORDINGLY, it is hereby

      ORDERED:

      1.    Plaintiff's Motion to Allow Correction of Spelling due to Scrivener's Error

(Doc. 16) is GRANTED.

      2.    Plaintiff shall have up to and including April 4, 2017 to file an amended

complaint that reflects Plaintiff’s name as “Mitil Dorseli.”

      3.    The Clerk of Court is directed to edit the docket to reflect Plaintiff’s name

as “Mitil Dorseli.” The caption of all future filings in this case also should so reflect.

      DONE and ORDERED in Fort Myers, Florida on this 30th day of March, 2017.




Copies:
Counsel of record




                                          -2-
